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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW HAMPSHIRE

                                                      )
NEW HAMPSHIRE INDONESIAN                              )
COMMUNITY SUPPORT, et al.,                            )
                                                      )
       Plaintiffs,                                    )
                                                      )
       v.                                             )        Case No. 1:25-cv-00038-JL-TSM
                                                      )
DONALD TRUMP, President of the United                 )
States, in his official capacity et al.,              )
                                                      )
       Defendants.                                    )
                                                      )


                       CONSENT MOTION OF
    AMERICA’S FUTURE, GUN OWNERS OF AMERICA, INC., GUN OWNERS
  FOUNDATION, CITIZENS UNITED, U.S. CONSTITUTIONAL RIGHTS LEGAL
   DEFENSE FUND, LEADERSHIP INSTITUTE, AND CONSERVATIVE LEGAL
DEFENSE AND EDUCATION FUND FOR LEAVE TO FILE BRIEF AMICUS CURIAE
 IN OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION


       On the grounds and for the reasons set forth below, movants, through undersigned

counsel, pursuant to F.R.Civ.P. 7, move this Court for leave to file a Brief Amicus Curiae in

opposition to Plaintiffs’ Motion for Preliminary Injunction.

       Counsel for Plaintiffs and Defendants have consented to this Motion and to the filing of

the attached brief amicus curiae. This brief is timely as it is being filed by the deadline allowed

for Defendants’ brief in opposition to the motion for preliminary injunction and within the

appropriate page limits.

       Movants America’s Future, Gun Owners Foundation, U.S. Constitutional Rights Legal

Defense Fund, Leadership Institute, and Conservative Legal Defense and Education Fund are

exempt from federal income taxation under Section 501(c)(3) of the Internal Revenue Code
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(“IRC”). Movants Gun Owners of America, Inc. and Citizens United are exempt from federal

income taxation under IRC Section 501(c)(4). Each organization participates actively in the

public policy process, and has filed numerous amicus curiae briefs in federal and state courts,

defending a proper interpretation of the U.S. Constitution.

       A separate memorandum to this motion is unnecessary as all arguments are set forth

herein. See Local Rule 7.1(a)(2).

I.     THIS CASE PRESENTS A CONSTITUTIONAL MATTER AND STATUTORY
       ISSUE OF GREAT IMPORTANCE.

       This case raises significant questions of constitutional and statutory interpretation with

respect to whether President Trump’s Executive Order at issue is lawful. The Executive Order

invalidates some of the commonly accepted applications and interpretations of “birthright

citizenship,” which is a concept that Plaintiffs claim to be rooted in the Fourteenth Amendment.

II.    THE AMICUS CURIAE BRIEF ADDRESSES ARGUMENTS RAISED BY
       PLAINTIFFS AND SUPPLEMENTS ARGUMENTS RAISED BY DEFENDANTS.

       Movants’ proposed amicus curiae brief submitted with this Motion supports the position

of Defendants, but supplements the arguments and authorities that it anticipates that the

Defendants will provide in their opposition to the Motion for Preliminary Injunction. The

amicus brief provides relevant history of the Fourteenth Amendment and the Immigration and

Nationality Act, as well as historical explanation of the error in Plaintiff’s reading of Yong Kim

Ark and other Supreme Court decisions.




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III.    THE ACCEPTANCE OF BRIEFS AMICUS CURIAE HAS BEEN FOUND
        USEFUL IN CASES SUCH AS THIS.

        District courts have inherent power to grant leave to file briefs amicus curiae, as they

often “provide helpful analysis of the law[,] they have a special interest in the subject matter of

the suit[,] or existing counsel is in need of assistance.” Bryant v. Better Business Bureau of

Greater Maryland, Inc., 923 F.Supp. 720, 728 (D. Md. 1996). Furthermore, this Court has

already granted leave of other amici to file an amicus brief in support of Plaintiffs’ Motion for

Preliminary Injunction. See Endorsed Order Granting Motion of Amici Local Officials (Jan. 29,

2025). For the reasons stated above, it is believed that this amicus brief will inform the Court’s

effort to resolve the question before it.

        Given the nationwide significance of this case, and its profound implications for all

Americans, movants respectfully request leave to file the accompanying brief amicus curiae in

opposition to Plaintiffs’ Motion for Preliminary Injunction.

                                                      Respectfully submitted,


                                                        /s/ Phillip E. Marbury
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January 31, 2025
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                                                      America’s Future, et al.




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                                     Certificate of Service

       I hereby certify that I served the foregoing Consent Motion for Leave to File Brief

Amicus Curiae in Opposition to Plaintiffs’ Motion for Preliminary Injunction on counsel for the

parties using the Court’s Electronic Case Filing system.


January 31, 2025                                    /s/ Phillip E. Marbury
                                                    Phillip E. Marbury
